Case 2:19-cv-08109-SVW-MAA Document 46-16 Filed 10/26/20 Pageiof2 Page ID#:474

Exhibit I
Case 2:19-cv-08109-SVW-MAA Document 46-16 Filed 10/26/20 Page 2of2 Page ID #:475

From: Microsoft Outlook on behalf of 9560318
To: Kimura, Douglas L.

Subject: Voice Mail from 9560318 (37 seconds)
Date: Tuesday, February 3, 2015 10:10:54 AM
Attachments: 9560318 (3 nds) Voice Mail.mp3

 

Voice Mail Preview:

Hi this message is for sergeant Douglas Kimura I'm calling from core gym on group in regards to men
women you have with Atty. nine or 10 at 2:00 PM.

He actually has to cancel he was called back into court this afternoon if you have any questions or if
you can just call me back to confirm that you have received this voicemail my phone number is eight 1
(895) 601-0081 eight 956-0100 and again I am calling to cancel the 2:00 PM appointment help with an

R8 or LO thank you bye.

Created by Microsoft Speech Technology. Learn More...

 

You received a voice mail from 9560318

Caller-Id: 9560318
